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                      UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 GREGORY GREENE and ANTHONY                      )
 MOTTO, individually and on behalf of            )       Case No. 14-cv-01437
 all others similarly situated,                  )
                                                 )
                                                 )       Hon. Gary Feinerman
                                Plaintiffs,      )
                                                 )
                                                 )       Magistrate Judge Susan Cox
 v.                                              )
                                                 )
 MARK KARPELES, an individual,                   )
                                                 )
                                Defendant.       )

           PARTIES’ JOINT REPORT WITH PROPOSED DISCOVERY
           SCHEDULE AND SCHEDULE FOR DISPOSITIVE MOTIONS

         Plaintiffs Gregory Greene and Anthony Motto (collectively, “Plaintiffs”) and Defendant

Mark Karpeles (“Karpeles”), in accordance with this Court’s Order dated January 11, 2019 [Dkt.

No. 401], hereby propose the following discovery and dispositive motion schedule.

         The parties have noted dates for which they are in agreement. For areas of disagreement,

the parties’ competing proposals are provided within the specific category:

            1. Deadline for Defendant to Answer the Complaint

                Agreed:        30 days after the Court issues an order on Karpeles’s motion to

                               dismiss.

            2. Deadline for Amendment of Pleadings

                Agreed:        90 days after Karpeles files his answer to the Complaint.

            3. Deadline for Rule 26(a)(1) disclosures

                Agreed:        February 28, 2019.

            4. Deadline for issuing initial written discovery requests
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               Agreed:        February 28, 2019.

           5. Deadline for completing fact discovery

               Plaintiffs’ Proposal: September 30, 2019 (8 months).

               Karpeles’ Proposal:      October 31, 2019 (9 months).

           6. Whether discovery should proceed in phases

               Agreed:        The parties agree that fact discovery for individual and class issues

                              shall proceed simultaneously.

           7. Whether expert discovery is contemplated and, if so, deadlines for Rule
              26(a)(2) disclosures and expert depositions

               Plaintiffs’ Proposal:

                  a. Plaintiffs’ expert report to be issued by October 14, 2019.

                  b. Defendant’s expert report to be issued by November 30, 2019.

                  c. Parties to complete expert discovery by January 14, 2020.

               Karpeles’ Proposal:      Karpeles proposes the following schedule:

                  a. Plaintiffs’ expert report to be issued by November 14, 2019.

                  b. Plaintiffs’ expert to be deposed by December 31, 2019.

                  c. Karpeles’ expert report to be issued by January 31, 2020.

                  d. Karpeles’ expert to be deposed by March 31, 2020.

           8. Deadline for filing dispositive motions.

               Agreed:        Eight weeks after the Court rules on Plaintiffs’ motion for class

                              certification, or four weeks after the close of expert discovery,

                              whichever occurs later.

       Nothing in this Order should be construed as any party waiving its right to file any other

motion that may affect this schedule.



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Dated: January 31, 2019                             Respectfully submitted,

Plaintiffs Gregory Greene and Anthony Motto

By:    /s/ Benjamin S. Thomassen

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By:    /s/ Bevin Brennan [with consent]
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Attorneys for Defendant Mark Karpeles




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                                CERTIFICATE OF SERVICE

       I, Benjamin S. Thomassen, an attorney, hereby certify that I served the foregoing
document by causing true and accurate copies of such paper to be transmitted to all counsel of
record via the Court’s CM/ECF electronic filing system on January 31, 2019.


                                            /s/ Benjamin S. Thomassen




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